

People v Brumaire (2019 NY Slip Op 07410)





People v Brumaire


2019 NY Slip Op 07410


Decided on October 16, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 16, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

RUTH C. BALKIN, J.P.
CHERYL E. CHAMBERS
JEFFREY A. COHEN
BETSY BARROS
FRANCESCA E. CONNOLLY, JJ.


2017-12109
 (Ind. No. 4312/16)

[*1]The People of the State of New York, respondent,
vStephen Brumaire, appellant.


Paul Skip Laisure, New York, NY (Stephanie Sonsino of counsel), for appellant.
Eric Gonzalez, District Attorney, Brooklyn, NY (Leonard Joblove and Diane R. Eisner of counsel; Marielle Burnett on the memorandum), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (Matthew Sciarrino, Jr., J.), imposed August 21, 2017, upon his plea of guilty, on the ground that the period of postrelease supervision imposed as part of the sentence was excessive.
ORDERED that the sentence is affirmed.
Contrary to the defendant's contention, the period of postrelease supervision imposed was not excessive (see People v Suitte , 90 AD2d 80).
BALKIN, J.P., CHAMBERS, COHEN, BARROS and CONNOLLY, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








